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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. : CASE No. 8:24-cr-276-VMC-UAM
MIGUEL ANGEL FORTIER, JR.

ORDER

THIS CAUSE came on for consideration upon the appointment of
counsel for the defendant. The defendant’s financial affidavit shows that he is
indigent. Attorney Nicholas Matassini provided services on this matter pending
resolution of a possible conflict with the Federal Defender’s Office. Under this
unique circumstance, it is appropriate for Matassini to be appointed as CJA counsel
for this case.

It is, accordingly, upon consideration,

ORDERED:

That Attorney Nicholas Matassini is hereby appointed to represent the
defendant in this case pursuant to the Criminal Justice Act, 18 U.S.C. 3599.

DONE and ORDERED at Tampa, Florida, this 22™ tay of July, 2024.

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THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

